       Case 1:23-cr-00177-ABJ         Document 81       Filed 11/14/24     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :       Case No: 23-CR-00177-ABJ
                                            :
              v.                            :
                                            :
SHANE LAMOND,                               :
                                            :
                                            :
              Defendant.                    :
                                            :
                                            :


                                 JOINT STATUS REPORT

       On November 13, 2024, the Court ordered that the parties file a status report indicating

whether there were any updates to the witness lists and any issues to be discussed at the status

conference. The parties have conferred and do not believe, at this time, there are any issues to

raise with the Court. The parties ask that the November 15, 2024, status conference be vacated.

                                            Respectfully submitted,


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